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LAW OFFICE OF GARY H. LOMANNO, LLC
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Attorney for Plaintiff

UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
{CAMDEN VICINAGE)

 

 

 

 

SHAWN SMEDLEY,

CIVIL ACTION NO. ga: (4102
Plaintiffs

v. COMPLAINT

UNITED STATES POSTAL

INSPECTION SERVICE, UNITED

STATES POSTAL POLICE, JOHN

DOE, jointly, severally

and/or in the alternative,

Defendants

 

The plaintiff, Shawn Smedley, residing at 444 Madison
Avenue, Williamstown, New Jersey, by way of complaint against the
above named parties, says:

JURISDICTION AND VENUE

 

This Court has jurisdiction over this matter pursuant to 28
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U.S.C. Section 1332 in that “the matter in controversy exceeds
the sum or value of $75,000.00, exclusive of interest and costs
and is between a citizen and a United States Government entity.”
PARTIES
1. Plaintiff, Shawn Smedley, resided at 444 Madison
Avenue, Williamstown, New Jersey at all times relevant
hereto.
2. Defendant, United States Postal Inspection Service, in

a Federal Agency.

3, Defendant, United States Postal Service, is a Federal
Agency.
4, Defendant, John Doe, is an unnamed employee of the

Defendants, United States Postal Inspection Service
and/or United States Postal Service.
FIRST COUNT
1. On or about the 18°’ day of December, 2018, the
plaintiff, Shawn Smedley, was the operator of a vehicle which was
stopped on Lindberg Blvd. at the intersection with 70° Street,
Philadelphia, Pennsylvania.
2. At the same time, the defendant, John Doe, was the
operator of a motor vehicle, with the complete knowledge and

authority of the owner and defendants, United States Postal
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Inspection Service and/or United States Postal Service, driving
on Lindberg Blvd. approaching the intersection of 70°° Street,
Philadelphia, Pennsylvania.

3. At said time and place, the defendants operated the
aforementioned vehicle in such a careless and negligent fashion
so as to cause a violent collision.

4. At all times relevant herein, the defendant, John Doe,
was an agent, servant and/or employee of the defendants, United
States Postal Inspection Service and United States Postal
Service, and operated said vehicle in the scope of his
employment. The defendant, United States Postal Inspection
Service and United States Postal Service, is liable to the
plaintiff, Shawn Smedley, for the acts of the defendant, John
Doe, through the doctrine of respondeat superior.

5. As a direct and proximate result of the negligence of
the defendants, United States Postal Inspection Service, United
States Postal Service and John Poe, and the collision which
resulted, plaintiff, Shawn Smedley, was caused to suffer injuries
of a temporary and permanent nature, was caused and will he
caused to experience great pain and suffering, was caused and
will be caused to suffer a loss of earnings and a diminished
earning capacity, was caused and will be caused to seek medical
attention for his injuries, was caused and will be caused to
experience great anxiety, and was otherwise injured and damaged,

all to his great loss and detriment.
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WHEREFORE, the plaintiff, Shawn Smedley, demands judgment

against the defendants, United States Postal Inspection Service
and/or United States Postal Service and John Doe, jointly,
severally and/or in the alternative for such sums as will
reasonable compensate the plaintiff for his damages according to

the laws of New Jersey, plus costs of suit, and for whatever

other relief the Court deems equitable and just.

DEMAND FOR JURY TRIAL

The plaintiffs demand a trial by jury as to all issues

contained herein.

  
 

LOMANNO, LLC

 

Dated: 11/26/20 ECA} -
BY: Gary. Lomanno, Esq.
Attoérney for Plaintiff

DESIGNATION OF TRIAL COUNSEL

Gary H, Lomanno, Esquire, is hereby designated as trial

counsel for the plaintiff in the above captioned matter.

H. LOMANNO, LLC

  
   

LAW OFF

 

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BY: G BY H. LOMANNO, ESOUTRE
Attorney for Plaintiff

 

Dated: 11/26/20
